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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 18-cv-61075-Moreno/Seltzer

  MITZY BATISTA,

                   Plaintiff,
  v.

  SOUTH FLORIDA WOMAN’S
  HEALTH ASSOCIATES, INC.,
  EDWARD D. ECKERT,

              Defendants.
  __________________________________/

                                 PLAINTIFF’S MOTION
                     FOR ENTRY OF ORDER APPROVING SETTLEMENT,
                               ENFORCING SETTLEMENT,
                    FOR LEAVE TO FILE MOTION FOR ATTORNEY’S FEES,
                      AND INCORPORATED MEMORANDUM OF LAW1

            Plaintiff, Mitzy Batista, (“Olguin”) moves the Court to approve the parties’ settlement,

  enforce the parties’ settlement, and for leave to file a motion for attorney's fees; in support Plaintiff

  states the following:

       I.      The Parties’ Settlement

  1.        On July 11, 2018, the parties agreed to a settlement. Attached as Exhibit A are the email

  communications between Defendant Dr. Eckert and the undersigned wherein a settlement was

  reached.




  1
    This motion is filed on an expedited basis because the Court’s Notice of Court Practice Upon
  Parties’ Notice of Settlement [DE 14] requires that settlement documents be filed with the Court
  by Noon today, and Defendants’ newly-retained counsel advised yesterday afternoon at 4:17 p.m.
  that unless Plaintiff agreed to settlement terms different from what the parties had previously
  agreed to, “then we do not have a settlement.” See Exhibit D.
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  2.     The terms of the settlement that were agreed to by the parties are the following:

             a. The parties agree to enter into a mutual general release of all claims.

             b. Defendants agree to pay Plaintiff’s unpaid minimum wages and liquidated

                 damages, which total $551.

             c. Defendants agree to pay Plaintiff’s costs of $523.

             d. Defendants agree to pay Plaintiff’s reasonable attorney’s fees, as determined by the

                 Court.

             e. The parties agree to the reservation of the Court’s jurisdiction to enforce the terms

                 of this settlement agreement.

             f. In the event this settlement agreement must be enforced, the prevailing party shall

                 be entitled to recover attorney’s fees and costs from the non-prevailing party.

             g. All payments shall be delivered to Koz Law, P.A., 320 SE 9th Street, Fort

                 Lauderdale, FL 33316.

  Exhibit A, p. 3.

  3.     Defendant Dr. Eckert was initially ambiguous in his acceptance of the settlement terms,

  but upon follow-up from Plaintiff’s counsel, unambiguously accepted the terms of the settlement:

         From: DR. EDWARD ECKERT <capdex@comcast.net>
         Sent: Wednesday, July 11, 2018 11:45 PM
         To: Elliot Kozolchyk <ekoz@kozlawfirm.com>; eckert r <eckert.r@att.net>
         Subject: RE: Settlement-Confidential and Privileged

         I already confirmed that i agree with your offer.

         Stop spinning this case to increase your fees.

         I agree with your offer Elliot, again.

         Dr. Eckert




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  Exhibit A, p. 1 (emphasis added).2

  4.      The undersigned subsequently filed the Notice of Settlement [DE 12] on July 12, 2018.

  5.      On July 13, 2018, Defendants’ counsel, Roslyn Stevenson, called the undersigned gave

  notice that she had been retained to represent Defendants; she requested that the undersigned send

  her a draft settlement, and—puzzlingly—asked if the undersigned opposed attending a settlement

  conference in this case even though the parties had already agreed to a settlement.

  6.      Later that day, the undersigned prepared and emailed a proposed settlement agreement

  consistent with the settlement terms that the parties agreed to on July 11, 2018. See Exhibit B.

  7.      After receiving no response from Defendants’ counsel, Plaintiff’s counsel’s office followed

  up on July 16 at 3:34 p.m. See Exhibit C, p. 3.

  8.      On July 17 at 3:24 p.m., Defendants’ counsel responded with a lengthy e-mail that was

  saturated with misrepresentations and false ad hominem attacks. See Exhibit C, pp. 1-2.

  Additionally, in contradiction to prior communications, Defendants’ counsel advised for the first

  time:

            “Presently, the parties do not have a settlement, and you should know that.”

  Exhibit C, p. 3.

  9.      The undersigned responded the next morning explaining that the parties did, in fact, agree

  to a settlement, and recited the settlement terms previously agreed to. See Exhibit C, p. 1.

  10.     Unmoved, on July 18 at 4:17 p.m., Defendants’ counsel sent an entirely new settlement

  agreement with terms never previously agreed to; Defendants’ counsel explained:




  2
    As shown in the e-mails, throughout this litigation, Defendant Dr. Eckert has engaged in ad
  hominem attacks and made false allegations regarding what the undersigned has previously said.
  Plaintiff’s counsel disputes each and every allegation unless expressly acknowledged and agreed
  to.
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                            “I drafted a new one because yours omitted language
                                 that I routinely include in my settlements.”

  Exhibit D.

  11.         Defendants’ counsel then asserted—in no uncertain terms—that any substantive changes

  would be rejected, and that there would be no settlement unless Plaintiff accepted Defendants’ new

  settlement terms:

    “If this Agreement is not acceptable, then we do not have a settlement. I am happy to review
                  your proposed changes, but I doubt that we will have a settlement
                                 if you want substantive changes.”

  Exhibit D.

  12.         Among many other objectionable terms that were never previously agreed to, Defendants’

  non-negotiable settlement agreement has a non-mutual release solely in Defendants’ favor and not

  Plaintiff’s favor, and dictates Plaintiff’s fees and costs to total $1,200. Exhibit D, p. 3. The parties

  originally agreed to settlement terms with a mutual general release, $523 in costs, and the Court

  to determine reasonable attorney’s fees. Exhibit A, p. 3. Plaintiff never agreed to $1,200 as

  reasonable attorney’s fees and costs.

  13.         Plaintiff, therefore, moves to enforce the settlement terms agreed to by the parties on July

  11, 2018. See Exhibit A.

        II.      Execution Not Required for Enforceable Settlement

              Execution of a formal settlement agreement is not a requirement to the enforcement of a

  settlement agreement by courts, but rather, “a procedural formality which both parties to the

  settlement agreement are obliged to perform”. Boyko v. Ilardi, 613 So. 2d 103, 104 (Fla. 3d DCA

  1996). In fact, oral settlement agreements, which are governed by the law of contracts, and are

  often enforced by the courts as well. See Enriquez v. Williams, 2:05-CV-238-FTM, 2010 WL

  3608463, at *4 (M.D. Fla. Aug. 20, 2010) (motion to compel enforcement of settlement agreement

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  was granted where the parties had orally agreed to settle the case in exchange for $1,000.00); see

  also generally Brumbelow v. Northern Propane Gas Co., 251 Ga. 674, 675, 308 S.E.2d 544 (1983)

  (oral agreement is enforceable against a client who subsequently challenged their attorney’s

  authority to enter into agreement). Both Plaintiff’s and Defendant’s “two sets of external signs”

  on agreement to the material terms of the contract, were mutual and undisputed. See Blackhawk

  Heating & Plumbing Co., Inc., 302 So.2d at 407. The meeting of the Parties’ minds is

  memorialized in Defendants’ counsel’s e-mail sent at 1:49 pm on June 12, 2018 and Plaintiff’s

  counsel’s confirmation e-mail sent at 2:31 p.m. on June 12, 2018. See Exhibit A, pp. 11-12.

     III.      The Court’s Inherent Power to Enforce Settlement

            This Court has the inherent power “to implement a settlement agreement between the

  parties.” South Beach Suncare, Inc. v. Sea & Ski Corp., 1999 WL 350458, *6 (S.D. Fla. May 17,

  1999). That power “inheres in the district court’s role as supervisor of the litigation, and the

  exercise of that power is entrusted to the court’s sound discretion.” South Beach Suncare, Inc.,

  1999 WL 350458, *6. Moreover, this Court “has jurisdiction to enforce settlement agreements, on

  motion by counsel, especially when the non-moving party refuses to comply with the agreement

  before the case been dismissed.” Le Bon Pain, Inc. v. Guyon and Co., 720 S. Supp. 983, 984-85

  (S.D. Fla. 1989); see also Kent v. Baker, III, 815 F.2d 1365, 1398 (11th Cir. 1987)); Ford v. Citizens

  and Southern National Bank, 928 F.2d 1118, 1121 (11th Cir.1991) (discussing the district court’s

  inherent power to enforce settlement agreements); Reed By and Through Reed v. U.S., 717 F. Supp.

  1511, 1514 (S.D. Fla. 1988) (concluding that the district court had jurisdiction to determine the

  enforceability of the settlement agreement because it has inherent authority to “summarily enforce

  a settlement agreement entered into by litigants while litigation is pending before it.”). “This

  enforcement authority covers not only written but also oral settlement agreements.” Sands v.



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  Wagner & Hunt, P.A., 09-60557-CIV, 2009 WL 2730469, at *2 (S.D. Fla. Aug. 28, 2009) (citing

  Welch v. North Am. Tank Line, Inc., 2008 WL 3982394, *2 (M.D. Fla. Aug. 25, 2008).

     IV.      The 11th Circuit Favors the Enforcement of Settlement Agreements

           The 11th Circuit “favor[s] and encourage[s] settlements in order to conserve judicial

  resources[,]” settlement agreements are enforced whenever possible. Murchison v. Grand Cypress

  Hotel Corp., 13 F.3d 1483, 1486 (11th Cir.1994) (emphasis added); see also Robbie, 469 So. 2d

  1385 (“settlements are highly favored, and will be enforced whenever possible.”); Lanza v. Damian

  Carpentry, Inc., 6 So. 3d 674, 675 (Fla. 1st DCA 2009) (rejecting attempt to repudiate a binding

  settlement agreement by raising ancillary issues after settlement had taken place).

     V.       Settlement Agreements Are Covered Under Florida Contract Law

           “A settlement agreement is a contract and, as such, its construction and enforcement are

  governed by principles of Florida’s general contract law.” Schwartz v. Florida Bd. of Regents, 807

  F.2d 901, 905 (11th Cir. 1987) (citing Wong v. Bailey, 752 F.2d 619, 621 (11th Cir. 1985)); see also

  Specialty Disease Mgt. Services, Inc. v. Aids Healthcare Found., 3:01CV1353 J32TEM, 2003 WL

  25608009, at *3 (M.D. Fla. Oct. 21, 2003) (holding “[s]ettlement agreements are governed by the

  law of contracts”). Florida “has consistently held that an objective test is used to determine whether

  a contract [an in this case a settlement agreement] is enforceable”. Robbie v. City of Miami, 469

  So. 2d 1384, 1385 (Fla. 1985) (citing Blackhawk Heating & Plumbing Co., Inc. v. Data Lease Fin.

  Corp., 302 So.2d 404 (Fla.1974)).

           Indeed, Florida’s objective test considers not whether there was an “agreement of two

  minds in one intention,” but instead focuses on the parties “having said the same thing.” Blackhawk

  Heating & Plumbing Co., Inc. v. Data Lease Fin. Corp., 302 So.2d 404, 407 (Fla. 1974); Robbie,

  469 So. 2d 1385; Schwartz, 807 F.2d at 905 (“The Court’s role is to determine the intention of the



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  parties from the language of the agreement, the apparent objects to be accomplished, other

  provisions in the agreement that cast light on the question, and the circumstances prevailing at the

  time of the agreement.”); see also St. Lucie County Bank & Trust Co. v. Aylin, 94 Fla. 528, 114 So.

  438 (1927) (“In the construction of written contracts it is the duty of the court, as near as may be,

  to place itself in the situation of the parties”). To determine whether a contract was entered into,

  courts apply traditional contract law notions of offer and acceptance. See Robbie, 469 So. 2d at

  1385 (applying a preponderance of the evidence standard); Welch v. North Am. Tank Line, Inc.,

  2008 WL 3982394, *2 (M.D. Fla. Aug. 25, 2008).

     VI.       Test to Enforce Settlement Agreements

           Specifically, under Florida law, “[t]o compel enforcement of a settlement agreement . . .

  every essential element . . . must be sufficiently specific and mutually agreed upon[.]” Spiegel v.

  H. Allen Homes, Inc., 834 So. 2d 295, 297 (Fla. 4th DCA 2003); see also Giovo v. McDonald, 791

  So.2d 38, 40 (Fla. 2d DCA 2001) (what an “essential term” of a contract is differs according to the

  circumstances). However, “uncertainty as to nonessential terms . . . will not preclude enforcement

  of a settlement agreement.” Spiegel v. H. Allen Homes, Inc., 834 So. 2d 295, 297 (Fla. 4th DCA

  2003); see also Bruton v. Carnival Corp., 11-21697-CIV, 2012 WL 1627729, at *2 (S.D. Fla. May

  2, 2012) (granting Plaintiff’s Motion to Compel Settlement where the parties settled the case and

  executed a Mediation Settlement Agreement and then had disputes with regard to release

  language).

     VII.      The Parties’ Settlement is Fair and Reasonable

           In the Eleventh Circuit, a compromise of an FLSA claim must either be supervised by the

  Secretary of Labor or must be approved by the District Court. See Lynn’s Food Stores, Inc. v. U.S.

  Department of Labor, 679 F.2d at 1350 (11th Cir. 1982). To approve the settlement, the court



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  should determine that the compromise is a fair and reasonable resolution of a bona fide dispute

  over FLSA provisions. Id. at 1354. If the settlement terms meet the aforementioned criteria, the

  Court should approve the settlement in order to promote the policy of encouraging settlement of

  litigation. Id.; see also Sneed v. Sneed’s Shipbuilding, Inc., 545 F.2d 537, 539 (5th Cir. 1977).

         Defendants operate a medical office and Plaintiff worked as a medical assistant.

  Defendants failed to pay Plaintiff her last paycheck. As set forth in the July 11 settlement terms

  agreed to by the parties, Plaintiff is receiving 100% of her unpaid minimum wages, liquidated

  damages, costs, and the parties agree to the Court determining Plaintiff’s counsel’s reasonable

  attorney’s fees.

         This settlement is fair and reasonable because it fully compensates Plaintiff, and allows the

  Court to determine Plaintiff’s reasonable attorney’s fees. It also avoids protracted litigation.

     VIII. The Court’s Approval of the Parties’ Settlement Renders Plaintiff the Prevailing
           Party Entitled to Attorney’s Fees and Costs

         Binding Eleventh Circuit authority holds that the parties’ settlement does not render

  Plaintiff’s FLSA claim moot, as would strip Plaintiff of his statutory right to recover attorney fees

  and costs:

                 As we’ve said, to be entitled to fees under the FLSA, a plaintiff must
                 “receive a judgment in [her] favor.” Dionne, 667 F.3d at 1205. Here,
                 the district court plainly found that the settlement—which RAM
                 admits included the full amount of back pay as well as an equal
                 amount for liquidated damages—was reasonable, and by doing so,
                 the district court entered a judgment in Wolff’s favor. See Lynn’s
                 Food Stores, 679 F.2d at 1355; Chmielarz, 289 F.3d at 1317, 1320.
                 RAM provides us with no reason to depart from Lynn’s, which
                 directs a district court to enter a judgment after “scrutinizing” for
                 fairness a proposed settlement entered into between the employee
                 and the employer in an action brought for back wages under the
                 FLSA. Id. at 1353.

  Wolff v. Royal Am. Mgmt., Inc., 545 Fed. Appx. 791, 795 (11th Cir. 2013).



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         As in Wolf, in the present case, the parties have agreed to a settlement wherein Plaintiff

  will receive the full amount of her claim for minimum wages plus an equal amount as liquidated

  damages.

         WHEREFORE, Plaintiff requests that the Court (1) approve the parties’ settlement as fair

  and reasonable, (2) enforce the parties’ settlement, and (3) grant leave to Plaintiff’s counsel to

  submit a motion for attorney’s fees pursuant to the terms of the parties’ settlement, 29 U.S.C. §

  216(b), and Local Rules 7.3(a) and 7.1(c).

                                                Respectfully submitted,

                                                Koz Law, P.A.
                                                320 S.E. 9th Street
                                                Fort Lauderdale, Florida 33316
                                                Phone: (786) 924-9929
                                                Fax: (786) 358-6071
                                                Email: ekoz@kozlawfirm.com




                                                Elliot Kozolchyk, Esq.
                                                Bar No.: 74791

                                CERTIFICATE OF CONFERRAL

         I HEREBY CERTIFY that counsel for the movant has conferred with all parties or non-

  parties who may be affected by the relief sought in the motion in a good faith effort to resolve the

  issues raised in the motion and has been unable to do so.




                                                Elliot Kozolchyk, Esq.




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                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
   on July 19, 2018 with the Clerk of Court using CM/ECF along with having served all counsel of
   record or pro se parties identified on the service list incorporated herein in the manner specified,
   either via transmission of Electronic filing generated by CM/ECF or in some other authorized
   manner for those counsel or parties not authorized to receive electronically Notice of Electronic
   Filing.




                                                 Elliot Kozolchyk, Esq.

                                            SERVICE LIST

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